Case 1:25-cv-01464-BMC             Document 60         Filed 06/25/25        Page 1 of 2 PageID #: 1241




 June 25, 2025


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 Hon. Brian M. Cogan, U.S.D.J.
 United States District Court for the Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, NY 11201

 Re:     Secretary Noem’s failure to issue timely notice
         Haitian Evangelical Clergy Ass’n v. Trump, No. 25-cv-1464

 Dear Judge Cogan:

 Plaintiffs, who ask that today’s conference be held as scheduled, write in response to the government’s
 letter of June 24, 2025 (ECF 58).1

 As Plaintiffs explained in their briefing and at oral argument, Secretary Noem’s “partial vacatur” of Haiti’s
 TPS designation is inflicting serious, irreparable harm on Plaintiffs. And, as Plaintiffs explained in their
 subsequent letters to the Court, that harm—which is inherent in the unlawful, premature termination of
 Haiti’s TPS designation—is now being severely exacerbated by (1) the Secretary’s issuance of employment
 authorization documents bearing an August 3, 2025, expiration date; and (2) the Secretary’s failure to
 provide timely notice of the statutorily mandated determination that she admits to having made under 8
 U.S.C. § 1254a(b)(3)(A).

 This ever-increasing irreparable harm warrants, at the very least, immediate interim relief under 5 U.S.C.
 § 705.

 Nothing that the government says in its letter changes these facts.

 The government does not deny that it is issuing employment authorization documents (EADs) bearing an
 August 3, 2025, expiration date. That the government is doing so is demonstrated by Plaintiff Nadege
 Michaud’s EAD, which she received on June 7 and is attached as Exhibit 1.

 The government blithely suggests that its issuance of EADs bearing an August 3, 2025, expiration date is
 of no consequence because “the government has a process for realigning TPS-related documents with a
 short-term extended expiration or extension date.” ECF 58 at 2. But that is of no help to Haitian TPS
 holders. That the government might ultimately deem facially expired EADs valid for a short period of time
 does nothing for TPS holders who, thanks to the “partial vacatur,” are already unable to secure jobs because
 employers, who need predictability, are unwilling to hire people whose EADs are currently set to expire
 August 3. And—as evidenced by the email sent to Plaintiff Sabina Badio Florial and attached as Exhibit 2—
 it does nothing to help currently employed TPS holders whose employers, in need of predictability and
 aware of the “partial vacatur,” are already demanding “original documentation that establishes your
 continued eligibility to work” past August 3 “when [Haitian TPS holders’] temporary work authorization will

 1
         Plaintiffs apologize for the late hour at which this letter is being filed. Unfortunately, counsel
 suffered computer problems that delayed completion of the letter.
Case 1:25-cv-01464-BMC             Document 60          Filed 06/25/25        Page 2 of 2 PageID #: 1242
 Hon. Brian M. Cogan, U.S.D.J.
 June 25, 2025
 Page 2




 expire.”

 Employers who currently need employees past August 3, which is less than six weeks away, are unlikely to
 wait for the Secretary to issue notice of her still secret determination under 8 U.S.C. § 1254a(b)(3)(A)
 before hiring individuals to fill those jobs. The Secretary’s failure to give timely notice effectively ensures
 that Haitian TPS holders looking for jobs will not be hired for current openings and those who are currently
 employed will be fired from the jobs that they now have.

 The Secretary does not say why she has kept her determination a secret. To Plaintiffs’ knowledge, in the
 35-year history of TPS, no previous Secretary has ever waited more than a few days to publish notice of a
 determination in the Federal Register. Secretary Noem’s unprecedented and unexplained refusal to publish
 notice of her determination vis-à-vis Haiti’s TPS designation smacks of gamesmanship designed to create
 facts on the ground before this Court rules on Plaintiffs’ claims.

 The government says that the Secretary “intends to publish the determination before August 3, 2025.” ECF
 58 at 1. In other words, the government maintains that the Secretary may withhold notice of her
 determination until 11:59 pm on August 2 without violating her statutory obligation to “timely” publish
 notice of a determination that she claims to have already made weeks if not months ago. 8 U.S.C.
 § 1254a(b)(3)(A). The government’s construction of the statute strips “timely” of any meaning.

 Contrary to what the government suggests (ECF 58 at 1), the mere fact that a termination would not take
 effect for 60 days after publication of the notice does not make the Secretary’s long-delayed notice “timely.”
 Under § 1254a(b)(3)(A), the Secretary must give “timely” notice whether she determines that the
 conditions for designation continue to exist or have ceased to exist. The point of the requirement is to allow
 TPS holders to plan their lives, whether that means preparing for repatriation to Haiti or reinvesting in the
 businesses that have built in the United States. Keeping an already-made determination secret defeats the
 very purpose of the requirement.

 There is no legitimate reason for the Secretary not to have published notice of her determination. While
 the statute certainly contemplates a short delay between determination and notice, that is simply in
 recognition of the fact that it usually takes two or three days before an agency decision appears in the
 Federal Register. It is not a license for the Secretary to delay notice at her whim.

 The Secretary’s conduct—issuing EADs that expire on August 3 while refusing to publish notice of her
 determination—is wreaking havoc among Haitian TPS holders. Likely by design but certainly in effect, she
 is depriving Haitian TPS holders of their reliance interest in that status.

 Plaintiffs again urge the Court to grant them partial summary judgment on their ultra vires claim, and if
 the Court is not prepared to do so at this juncture, to at least grant them interim relief under 5 U.S.C.
 § 705.

 Respectfully submitted,

 /s/ Andrew Tauber

 Andrew E. Tauber
